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8                             UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10

11   JOHN HO, an individual                     Case No.: 5:23-cv-2144
12               Plaintiff,                     COMPLAINT FOR
13         vs.
                                                   (1) VIOLATION OF THE UNRUH
14   98 PLAZA LLC, a limited liability                 CIVIL RIGHTS ACT
     company
15                                                     (CALIFORNIA CIVIL CODE
                 Defendants.                           §§ 51, 52);
16
                                                   (2) VIOLATIONS OF THE
17                                                     AMERICANS WITH
18                                                     DISABILITIES ACT OF 1990

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28


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1                                                I.
                                              SUMMARY
2

3            1.    This is a civil rights action by plaintiff John Ho (“Plaintiff”) for
4    discrimination at the building, structure, facility, complex, property, land,
5    development, and/or surrounding shopping center bearing the legal address of 9889
6    Foothill Blvd, Rancho Cucamonga, CA 91730-3617, San Bernardino County, and
7    encompassing the entire exterior parking lot identified as APN 0208-XXX-XX-XXXX
8    where the business the “RC MONGOLIAN BBQ” operates (the “Property”). Plaintiff
9    frequents the area for dining, shopping and entertainment as the area is near the
10   beaches and shops of Long Beach. In this particular instance, Plaintiff desired to
11   patronize the “RC MONGOLIAN BBQ, INC” restaurant is located on the property.
12           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
13   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
14   12101, et seq.) and related California statutes1 against the owner of the property 98
15   PLAZA LLC, a limited liability company (“Defendant”).
16                                                   II.
17                                         JURISDICTION
18           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
19   for ADA claims.
20           4.    Supplemental jurisdiction for claims brought under parallel California
21   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
22   1367.
23           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
24                                               III.
25                                              VENUE
26           6.    All actions complained of herein take place within the jurisdiction of the
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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     United States District Court, Central District of California, and venue is invoked
2
     pursuant to 28 U.S.C. § 1391(b), (c)
3
                                                IV.
4
                                              PARTIES
5
           7.       On information and belief, Plaintiff alleges that Defendant is or was at
6
     the time of the incident, the owner, operator, lessor and/or lessee of the Property, and
7
     consist of a person (or persons), firm, company, and/or corporation.
8
           8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
9
     and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
10
     is “physically disabled” as defined by all applicable California and United States laws,
11
     and a member of the public whose rights are protected by these laws. Plaintiff is a
12
     resident of Los Angeles County, California. Plaintiff is considered a high frequency
13
     litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
14
     the twelve months preceding the filing of this complaint, Plaintiff filed sixteen (16)
15
     other construction accessibility related claims (not including this one).
16
                                                V.
17
                                               FACTS
18
           9.       On March 10, 2022, Plaintiff patronized the Property. The Property is a
19
     sales or retail establishment, open to the public, which is intended for nonresidential
20
     use and whose operation affects commerce.
21
           10.      Plaintiff visited the Property and encountered barriers (both physical and
22
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
23
     enjoy the goods, services, privileges and accommodations offered at the facility. To
24
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
25
     to the following:
26

27               a. Parking spaces designated as accessible and accompanying access aisles
28                  have slopes and/or cross slopes that exceed 2.0%. Without a level
                                                  2
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1                    parking space, it is difficult for Plaintiff to unload/transfer from a vehicle
2                    as his wheelchair rolls.
3                 b. To access the sidewalks and stores, Plaintiff must traverse up a built-up
4                    curb ramp that is too steep. To the extent that the curb ramp is intended
5                    to be a ramp, it does not have the necessary railings for Plaintiff to safely
6                    maneuver up and down.
7
            11.      These barriers to access are listed without prejudice to Plaintiff citing
8
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
9
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
10
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
11
     Property.
12
            12.      Plaintiff thus experienced difficulty and discomfort as a result of the
13
     accessible barriers he encountered. Although he would like to return to the Property
14
     to patronize the convenience store at the Property, he continues to be deterred from
15
     visiting the Property because of the future threats of injury created by these barriers.
16
     Plaintiff often frequents the area as he enjoys the shops and dining offered in the area.
17
     Within 6 months of the correction of any barriers, Plaintiff would return to the
18
     Property to not only patronize the stores on the Property, but to also ensure that the
19
     Property is fully accessible to him.
20
            13.      On information and belief, Plaintiff alleges that Defendant knew that
21
     these elements and areas of the Property were inaccessible, violate state and federal
22
     law, and interfere with (or deny) access to the physically disabled. Moreover,
23
     Defendant has the financial resources to remove these barriers from the Property
24
     (without much difficult or expense), and make the Property accessible to the
25
     physically disabled. To date, however, the Defendant refuses to remove those
26
     barriers.
27
            14.      On information and belief, Plaintiff alleges that at all relevant times,
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                                                     3
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1
     Defendant has possessed and enjoyed sufficient control and authority to modify the
2
     Property to remove impediments to wheelchair access and to comply with the
3
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
4
     Defendant has not removed such impediments and have not modified the Property to
5
     conform to accessibility standards.
6
        VI.      FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
7
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
8
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
9
                                        CODE SECTION 51(f)
10
              15.   Plaintiff incorporates the allegations contained in paragraphs 1 through
11
     14 for this claim and incorporates them herein.
12
              16.   At all times relevant to this complaint, California Civil Code § 51 has
13
     provided that physically disabled persons are free and equal citizens of the state,
14
     regardless of disability or medical condition:
15
              All persons within the jurisdiction of this state are free and equal, and
16
              no matter what their sex, race, color, religion, ancestry, national
17
              origin, disability, or medical condition are entitled to the full and
18
              equal accommodations, advantages, facilities, privileges, or services
19
              in all business establishments of every kind whatsoever. Cal. Civ.
20
              Code § 51(b).
21
              17.    California Civil Code § 52 provides that the discrimination against
22
     Plaintiff on the basis of his disabilities constitutes a violation of the anti-
23
     discrimination provisions of §§ 51 and 52.
24
              18.   Defendant’s discrimination constitutes a separate and distinct violation of
25
     California Civil Code § 52 which provides that:
26
              Whoever denies, aids or incites a denial, or makes any discrimination
27
              or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
28
                                                    4
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1
             every offense for the actual damages, and any amount that may be
2
             determined by a jury, or a court sitting without a jury, up to a
3
             maximum of three times the amount of actual damage but in no case
4
             less than four thousand dollars ($4,000) and any attorney’s fees that
5
             may be determined by the court in addition thereto, suffered by any
6
             person denied the rights provided in Section 51, 51.5 or 51.6.
7
             19.   Plaintiff continues to be deterred from visiting the Subject Property based
8
     upon the existence of the accessible barriers. In addition to the instance of
9
     discrimination occurring in March 2022, Plaintiff is entitled to $4,000.00 in statutory
10
     damages for each additional occurrence of discrimination under California Civil Code
11
     § 52.
12
             20.   Any violation of the Americans with Disabilities Act of 1990 (as pled in
13
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
14
     thus independently justifying an award of damages and injunctive relief pursuant to
15
     California law. Per § 51(f), “[a] violation of the right of any individual under the
16
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
17
     section.”
18
             21.   The actions and omissions of Defendant as herein alleged constitute a
19
     denial of access to and use of the described public facilities by physically disabled
20
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
21
     result of Defendant’s action and omissions Defendant has discriminated against
22
     Plaintiff in a violation of Civil Code §§ 51 and 51.
23
                                                VII.
24
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
25
                    DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
26
             22.   Plaintiff incorporates the allegations contained in paragraphs 1 through
27
     21 for this claim and incorporates them herein.
28
                                                   5
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1
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
2
     Congress passed “Title III – Public Accommodations and Services Operated by
3
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
4
     entities” which are considered “public accommodations” for purposes of this title,
5
     which includes any “restaurant, bar, or other sales or rental establishment serving food
6
     or drink.” § 301(7)(B).
7
           24.    The ADA states that “[n]o individual shall be discriminated against on
8
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
9
     privileges, advantages, or accommodations of any place of public accommodation by
10
     any person who owns, leases, or leases to, or operates a place of public
11
     accommodation.” 42 U.S.C. § 12182.
12
           25.    The acts and omissions of Defendant set forth herein were in violation of
13
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
14
     Part 36 et seq.
15
           26.    On information and belief, Plaintiff alleges that the Property was
16
     constructed or altered after January 26, 1993 thus triggering requirements for removal
17
     of barriers to access for disabled persons under § 303 of the ADA. Further on
18
     information and belief, Plaintiff alleges that removal of each of the barriers
19
     complained of by Plaintiff as hereinabove alleged, were at all times herein mentioned
20
     "readily achievable" under the standards §§ 30 l and 302 of the ADA. As noted
21
     hereinabove, removal of each and every one of the architectural barriers complained
22
     of herein were also required under California law. In the event that removal of any
23
     barrier is found to be "not readily achievable," Defendant still violated the ADA, per§
24
     302(b )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
25
     accommodations through alternative methods that were readily achievable.
26
           27.    On information and belief, as of the date of Plaintiff’s encounter at the
27
     Property and as of the filing of this Complaint, the Defendant denies and continues to
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                                                  6
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1
     deny full and equal access to Plaintiff and to other disabled persons, including
2
     wheelchair users, in other respects, which violate plaintiff's rights to full and equal
3
     access and which discriminate against Plaintiff on the basis of his disability, thus
4
     wrongfully denying to plaintiff the full and equal enjoyment of the goods, services,
5
     facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303
6
     of the ADA. 42 USC§§ 12182 and 12183.
7
           28.     On information and belief, Defendant has continued to violate the law
8
     and deny the rights of Plaintiff and other disabled persons to access this public
9
     accommodation since on or before Plaintiff's encounters, as previously noted.
10
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
11
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
12
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
13
     in violation of the ADA or has reasonable grounds for believing that he is about to be
14
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
15
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
16
     make such facilities readily accessible to and usable by individuals with disabilities to
17
     the extent required by this title."
18
           29.     Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
19
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
20
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
21
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
22
     to discrimination on the basis of disability in violation of Title III and who has
23
     reasonable grounds for believing he will be subjected to such discrimination each time
24
     that he may attempt to use the property and premises.
25
                                              PRAYER
26
           WHEREFORE, Plaintiff prays that this court award damages and provide relief
27
     as follows:
28
                                                   7
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1
        1. Issue a preliminary and permanent injunction directing Defendant as current
2
     owner, operator, lessor, and/or lessee of the property and premises to modify the
3
     above described property and premises and related facilities so that each provides full
4
     and equal access to all persons, including but not limited to persons with physical
5
     disabilities who use wheelchairs, and issue a preliminary and permanent injunction
6
     directing Defendant to provide and maintain facilities usable by plaintiff and similarly
7
     situated persons with disabilities, and which provide full and equal access, as required
8
     by law, including appropriate changes in policy;
9
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
10
     that Defendant unlawful policies, practices, acts and omissions, and maintenance of
11
     inaccessible public facilities as complained of herein no longer occur, and cannot
12
     recur;
13
        3. Award to Plaintiff all appropriate damages, including but not limited to
14
     statutory damages, general damages and treble damages in amounts within the
15
     jurisdiction of this Court, all according to proof;
16
        4. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
17
     costs of this proceeding as provided by law;
18
        5. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
19
     329
20
        6. Grant such other and further relief as this Court may deem just and proper.
21

22                                        ASCENSION LAW GROUP, PC

23      DATE: October 18, 2023

24                                                    /s/Pamela Tsao

25                                        Pamela Tsao, attorney for Plaintiff

26                                                      JOHN HO

27

28
                                                  8
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